UNITED STATES DISTRICT COURT E. _
MIDDLE DISTRICT OF FLORlDA " `
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V_ CAsE NO. 3;19-cr- \-j`-g>` mg

JOHN R. NETTLETON

MOTION FOR CAPLAS
The United States of America, by AnnaLOu Tirol, Acting Chief Of
the Public Integrity Section of the Criminal Division Of the Department of
Justice, moves this Court to issue a capias for JOHN R. NETTLETON,
against Whorn an indictment Was returned in the Jacksonvi]le Division of the
Middle District Of Flc)rida.
Respectfully submitted,

ANNALOU TIROL
Acting Chief, Public Integrity Section

M§z

By: /s/ Todd Ge
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